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 Fill in this information to identify the case:
 Debtor 1: Etta McKenzie
 Debtor 2:
             (Spouse, if filing)

 United States Bankruptcy Court for the Southern District of Florida
                                                             (State)

 Case number: 16-18334-LMI


Official Form 410S1
Notice of Mortgage Payment Change                                                                                                               12/15
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s principal
residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to your proof of claim at
least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1

Name of creditor: Nationstar Mortgage LLC                                         Court claim no. (if known): 2-1

Last 4 digits of any number you                                                   Date of Payment Change:                      08/01/2019
use to identify the debtor's account:      2353                                   Must be at least 21 days after date of
                                                                                  this notice.

                                                                                  New total payment:                           $1,023.28
                                                                                  Principal, interest, and escrow, if any
Part 1:        Escrow Account Payment Adjustment

1.    Will there be a change in the debtor's escrow account payment?

      No.
      Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
      the basis for the change. If a statement is not attached, explain why:




           Current escrow payment: $468.46                                       New escrow payment: $494.37


Part 2:        Mortgage Payment Adjustment

2.    Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor’s variable-rate
      account?

      No.
      Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
      attached, explain why:

           Current interest rate:                                       %        New interest rate:                                            %


           Current principal and interest payment: $                             New principal and interest payment: $


Part 3:       Other Payment Change

3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?

     No
     Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
      (Court approval may be required before the payment change can take effect.)
          Reason for change:

           Current mortgage payment: $                                           New mortgage payment: $




Official Form 410S1                                        Notice of Mortgage Payment Change                                                 Page 1
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Debtor 1           Etta McKenzie                     _       _                   Case number (if known) 16-18334-LMI
             First Name Middle Name                Last Name



Part 4:          Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
number.

Check the appropriate box

    I am the creditor.
    I am the creditor’s authorized agent.
I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
information, and reasonable belief.

X        /s/Elizabeth Eckhart                                                               Date: 05/28/19
         Signature




Print:               Elizabeth Eckhart                                                      Title: Attorney
                     First Name               Middle Name           Last Name

Company              Shapiro, Fishman & Gaché, LLP


Address              4630 Woodland Corporate Blvd. Suite 100
                     Number          Street

                     Tampa, FL 33614
                     City                                   State     ZIP Code


Contact phone        813-319-5278                                                           Email: eeckhart@LOGS.com




Official Form 410S1                                            Notice of Mortgage Payment Change                            Page 2
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                                CERTIFICATE OF SERVICE

         I hereby certify that I am admitted to the Bar of the United States District Court of the
Southern District of Florida and am following additional qualifications to practice in this Court as
set forth in Local Rule 2090-1(A).

       I further certify a true and correct copy of the foregoing Notice of Mortgage Payment
Change filed as a supplement to Claim 2-1 has been sent by electronic or standard first-class
Mail on this 28th day of May, 2019 to the following:

Etta McKenzie, 20110 Northwest 32 Avenue, Opa Locka, FL 33056
Carolina Lombardi, 4343 W. Flagler Street, #100, Miami, FL 33134
Nancy K. Neidich, POB 279806, Miramar, FL 33027
United States Trustee, 51 SW First Avenue, Suite 1204, Miami, FL 33130

                                              /s/Elizabeth Eckhart
                                              Elizabeth Eckhart
                                              FL Bar # 0048958
                                              Attorney for Secured Creditor
                                              Shapiro, Fishman & Gaché, LLP
                                              4630 Woodland Corporate Blvd. Suite 100
                                              Tampa, FL 33614
                                              Telephone: 813-319-5278
                                              Fax: (813) 880-8800
                                              E-mail: eeckhart@logs.com




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Why am I receiving this letter?


What do I need to know?




What do I need to do?



                                  Bankruptcy Department at 877-343-5602.
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                   Case 16-18334-LMI                         Doc           Filed 05/28/19                 Page 6 of 7
                                                                                   Escrow Account Disclosure
                                                                                   Statement

                                                                                   Customer Service:




                                                                                   Tax/Insurance:




      Why am I
receiving this?



What does this
 mean for me?




     What do I
   need to do?

                                                                  Current Monthly                                               New Monthly
 Total Payment                                                           Payment              Payment Changes                      Payment


 Total Payment                                                              $997.37                        $25.91                   $1,023.28
 See below for surplus calculation




 What is a Surplus?                                                       lowest projected balance and the minimum required
 balance
                           Minimum Required Balance                                       Lowest Projected Balance

                                     $936.12                                                        $4,423.17

                                                           Surplus Amount $3,487.05
                                     Please see the Coming Year Projections table on the back for more details.

 Escrow Payment                                                    Current Annual                Annual Change           Anticipated Annual
 Breakdown                                                          Disbursement                                              Disbursement




 Annual Total                                                             $5,621.50                       $310.93                   $5,932.43
 If you have questions about changes to your property taxes or homeowners’ insurance premiums, please contact your local taxing authority or
 insurance provider. For more information about your loan, please sign in at www.mrcooper.com.




Payment(s)                                         Taxes                                           Insurance
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                                         Prior Year Account History and Coming Year Projections
This is a statement of the actual activity in your escrow account from 08/18 through 07/19. This statement itemizes your actual escrow
account transactions since your previous analysis statement or initial disclosure, and projects payments, disbursements, and balances for
the coming year.



Projections are included to ensure sufficient funds are available to pay your taxes and/or insurance for the coming year.



                                 These amounts are indicated with an arrow (<).

This escrow analysis is based on the assumptionthat all escrow advances made on your loan prior to your bankruptcy filing date are
included in your bankruptcy plan and will be paid in the plan. This analysis considers insurance, taxes and other amounts that will come due
after the filing of your bankruptcy case.

          Projected      Actual        Projected         Actual                   Description              Projected               Actual
Month     Payment       Payment      Disbursement     Disbursement                                          Balance               Balance




          Projected                    Projected                                  Description                Current    Required Balance
Month     Payment                    Disbursement                                                            Balance           Projected




                                                                                                                                   $936.12<




Bankruptcy Adjustment
